Case 3:24-cv-05730-TL   Document 13-4   Filed 10/04/24   Page 1 of 3




                        EXHIBIT D
DocuSign Envelope ID: 00663087-3775-47ED-B2E2-B4F5D7A74670
                           Case 3:24-cv-05730-TL                         Document 13-4                 Filed 10/04/24   Page 2 of 3




               DISBURSEMENT REQUEST AND
               AUTHORIZATION

                                                                                              LOAN NO:        1419

               Date:                                       December 14, 2021
               Borrower:                                   Indiana Water Technology LLC
                                                           6404 Myrtle Lane,
                                                           Indianapolis, IN 46220
                                                           Attn: David A. Schroeder
               Lender:                                     FIRST FED BANK
                                                           P.O. Box 351
                                                           Port Angeles, WA 98362
                                                           Attn: Kasi O’Leary
               Loan Amount:                                $988,125.00

                      A.         Loan Type. This is a fixed rate (5-Year FHLB Rate plus 3.50% credit spread, adjusted once on the fifth
             anniversary of the Loan, but in any event at least 5.95%) single advance Loan to the limited liability company borrower identified
             above (“Borrower”) for $988,125.00 due on December 14, 2031 (the “Loan”).

                       B.       Primary Purpose of the Loan. Borrower hereby certifies that the primary purpose of the Loan is for business,
             and not for personal, family, or household purposes or personal investment.

                          C.             Specific Purpose. The specific purpose of the Loan is for the purchase or refinance of one or more water
             filling stations.

                       D.        Disbursement Instructions. Borrower understands that no Loan proceeds will be disbursed until all of
             Lender’s conditions for making the Loan have been satisfied. Along with all other conditions in the documents governing the Loan,
             Borrower shall deposit the total “cash deposits” amount in Borrower’s Demand Deposit - Checking account, number              7808
             with Lender (the “Borrower Account”). At the closing of the Loan, Lender is authorized and directed to disburse proceeds of the
             Loan and the Borrower Account as follows:

                                 Amount paid to others on Borrower’s behalf:

                                           Payment to Creative Technologies, LLC for purchase of                                 $1,317,500.00
                                           water station(s).

                                Note principal:                                                                                   $988,125.00

                                 Other Borrower funds contributed to Borrower Account for                                         $342,440.23
                                 closing charges (itemized below):

                                           Non-loan funds contributed by Borrower (to be paid to the
                                           third-party above on Borrower’s behalf):                                               $329,375.00

                                           Insurance Tracking Fee                                                                      $27.50

                                           Credit Report Fee                                                                           $76.16

                                           UCC Fee                                                                                    $160.00

                                           Loan origination fee (1.25% of Loan amount):                                            $12,351.57

                                           Loan Documentation Fee                                                                     $450.00


             Disbursement Request and Authorization - Water Station Form                                                                   page 1
             ND: 23314.01101 4835-9966-9755v1
DocuSign Envelope ID: 00663087-3775-47ED-B2E2-B4F5D7A74670
                           Case 3:24-cv-05730-TL                Document 13-4             Filed 10/04/24            Page 3 of 3



                       E.      Automatic Payments. Borrower hereby authorizes Lender to automatically deduct from the Borrower Account
             described above the amount of any loan payment. Borrower’s initial recurring payments will be made according to the following
             schedule:

                                      Number of            Amount of Payments                             Date of Payments
                                      Payments

                                           120                  $10,945.42                              Monthly beginning January 5, 2022

             On the Adjustment Date (as defined in the Promissory Note executed in connection with the Loan), the interest rate will be adjusted
             to the higher of (i) the then-current 5-Year FHLB Rate plus 3.50% credit spread, or (ii) 5.95%. Upon such adjustment, the amount
             of Borrower’s recurring payments will be adjusted accordingly.

             If the funds in the Borrower Account are insufficient to cover any payment, Lender shall not be obligated to advance funds to cover
             the payment. At any time and for any reason, Borrower or Lender may voluntarily terminate the automatic payment set forth herein.

                       F.       Financial Condition. By signing this authorization, Borrower represents and warrants to Lender that
             the information provided above is true and correct and that there has been no material adverse change in Borrower’s
             financial condition as disclosed in Borrower’s most recent financial statement to Lender.

                           EXECUTED as of the date set forth above.


               BORROWER:

               Indiana Water Technology LLC
               an Indiana Limited Liability Company



               By: ________________________________
                    Name: David A. Schroeder
                    Its: Member/Manager




             Disbursement Request and Authorization - Water Station Form                                                                 page 2
             ND: 23314.01101 4835-9966-9755v1
